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                      IN THE UNITED STATES DISTRICT COURT
                             DISTRICT OF DELAWARE



 IPA TECHNOLOGIES, INC.,
                     Plaintiff,

 V.                                                No. 16-1266-RGA

 AMAZON.COM, INC., and AMAZON
 DIGITAL SERVICES, LLC,

                     Defendants.



 IPA TECHNOLOGIES, INC.,
                     Plaintiff,

 V.
                                                   No. 18-01-RGA

 MICROSOFT CORPORATION,

                     Defendant.




 IPA TECHNOLOGIES, INC. ,
                     Plaintiff,

 V.                                                No . 18-318-RGA

 GOOGLELLC,

                     Defendant.



           ., (""             ~ SCHEDULING ORDER

       ThislJ day of MAfth        , 2019, the Court having conducted an initial Rule 16(b)
scheduling conference pursuant to Local Rule 16.1 (b ), and the parties having determined after




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 discussion that the matter cannot be resolved at this juncture by settlement, voluntary mediation,

 or binding arbitration;

        IT IS ORDERED that:

         1. Rule 26(a)(l) Initial Disclosures. Unless otherwise agreed to by the parties, the parties

 shall make their initial disclosures pursuant to Federal Rule of Civil Procedure 26(a)(l) within

 fourteen (14) days of the date of this Order.

         2. Joinder of Other Parties and Amendment of Pleadings. All motions to join other

 parties, and to amend or supplement the pleadings, shall be filed on or before August 16, 2019.

         3. Discovery.

                 a.        Initial Discovery in Patent Litigation. Paragraph 4 of the Default Standard

 is hereby modified as follows:

                            1. On or before April 12, 2019, Plaintiff shall provide the disclosures

                               required by Paragraph 4(a) of the Default Standard.

                           11. On or before May 24, 2019, each Defendant shall produce the

                               documents required by Paragraph 4(b) of the Default Standard.

                           m . On or before July 10, 2019, Plaintiff shall provide the disclosures

                               required by Paragraph 4( c) of the Default Standard.

                           1v. On or before August 23 , 2019, each Defendant shall provide the

                               disclosures required by Paragraph 4(d) of the Default Standard.

                b.         Discovery Cut Off. All discovery in this case shall be initiated so that it

 will be completed on or before October 2, 2020.

                c.         Document Production. Document production shall be substantially

 complete by December 15, 2019.




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               d.          Requests for Admission. A maximum of 50 requests for admission are

permitted for each side other than for purposes of authenticating evidence, for which an

unlimited number of requests for admission will be permitted. For clarity, IPA may serve 50

RF As on each of the Amazon Defendants, Microsoft, and Google. The parties agree to confer

with a goal of working out an appropriate agreement/stipulation concerning document and other

evidence authenticity prior to trial.

               e.          Interrogatories. A maximum of 25 interrogatories, including contention

interrogatories, are permitted for each side. Specifically, IP A may serve 10 common

interrogatories on the Amazon Defendants, Microsoft and Google. IPA may also serve 15

individual interrogatories on each of the Amazon Defendants, Microsoft and Google. The

Amazon Defendants, Microsoft and Google may collectively serve 10 common interrogatories

on IP A. The Amazon Defendants, Microsoft and Google may each serve 15 individual

interrogatories on IP A.

               f.          Depositions.

                      1.          Limitation on Hours for Fact Deposition Discovery. IPA is limited

to a maximum of 49 hours of fact deposition of each of 1) Amazon Defendants, 2) Microsoft,

and 3) Google. Defendants collectively are limited to a maximum of 49 hours of fact deposition

of IP A. The Defendants shall coordinate depositions so that each individual fact witness is only

deposed once to the extent practical. This includes depositions of inventors (which are limited to

ten (10) hours per inventor). IPA may take up to an additional fifty (50) hours of non-expert

depositions of non-party witnesses . Defendants collectively may take up to an additional fifty

(50) hours of non-expert depositions of non-party witnesses. Any deposition of inventors




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Cheyer, Martin, and Julia will not count toward the third party deposition limit. Any party may

move to modify these limitations for good cause shown.

                     11.          Expert Depositions. The deposition of each expert who issues a

report shall be limited to seven (7) hours of deposition per expert report. However, should any of

Plaintiff's experts issue an infringement, non-infringement, or damages report with respect to

multiple defendants, those depositions shall be limited to two (2) hour of joint examination by

Defendants with an additional five (5) hours for each individual defendant as to which the expert

offers an opinion. For example, if an expert issues a report addressing the alleged infringement

of [first defendant] and [second defendant], that witness would be subject to up to twelve (12)

hours of deposition [2+5+5]. Unless otherwise agreed, the daily limit of seven (7) hours shall

apply. If Plaintiff's infringement expert also issues a validity report, Defendants may depose that

expert for no more than seven (7) hours on the issue of validity.

                    lll.          Location of Depositions. Any party or representative (officer,

director, or managing agent) of a party filing a civil action in this district court must ordinarily be

required, upon request, to submit to a deposition at a place designated within this district.

Exceptions to this general rule may be made by order of the Court or by agreement of the parties.

A defendant who becomes a counterclaimant, cross-claimant, or third-party plaintiff shall be

considered as having filed an action in this Court for the purpose of this provision.

               g.          Discovery Matters and Disputes Relating to Protective Orders. All

disputes concerning discovery matters are hereby referred to the assigned Magistrate Judge.

       4. Application to Court for Protective Order. Should counsel find it will be necessary to

apply to the Court for a protective order specifying terms and conditions for the disclosure of

confidential information, counsel should confer and attempt to reach an agreement on a proposed




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fom1 of order and submit it to the Court within 30 days from the date of this Order. Should

counsel be unable to reach an agreement on a proposed form of order, counsel must follow the

provisions of Paragraph 3(g) above.

       Any proposed protective order must include the following paragraph:

               Other Proceedings. By entering this order and limiting the disclosure of
       information in this case, the Court does not intend to preclude another court from finding
       that information may be relevant and subject to disclosure in another case. Any person or
       party subject to this order who becomes subject to a motion to disclose another party's
       information designated as confidential pursuant to this order shall promptly notify that
       party of the motion so that the party may have an opportunity to appear and be heard on
       whether that information should be disclosed .

       5. Papers Filed Under Seal. When filing papers under seal, counsel shall deliver to the

Clerk an original and one copy of the papers. A redacted version of any sealed document shall be

filed electronically within seven days of the filing of the sealed document.

       6. Courtesy Copies. The parties shall provide to the Court two courtesy copies of all

briefs and one courtesy copy of any other document filed in support of any briefs (i.e. ,

appendices, exhibits, declarations, affidavits etc.). This provision also applies to papers filed

under seal.

       7. Claim Construction Issue Identification. On or before December 6, 2019, the parties

shall exchange a list of those claim term( s)/phrase( s) that they believe need construction and

their proposed claim construction of those term(s)/phrase(s). This document will not be filed

with the Court. Subsequent to exchanging that list, the parties will meet and confer to prepare a

Joint Claim Construction Chart to be filed no later than January 15, 2020. The Joint Claim

Construction Chart, in Word or WordPerfect format, shall bee-mailed simultaneously with filing

to rga_civil@ded.uscourts .gov. The parties' Joint Claim Construction Chart should identify for

the Court the term(s)/phrase(s) of the claim(s) in issue, and should include each party's proposed




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construction of the disputed claim language with citation(s) only to the intrinsic evidence in

support of their respective proposed constructions. A copy of the patent(s) in issue as well as

those portions of the intrinsic record relied upon shall be submitted with this Joint Claim

Construction Chart. In this joint submission, the parties shall not provide argument.

       8. Claim Construction Briefing. The Plaintiff shall serve, but not file , its opening brief,

not to exceed 20 pages, on February 5, 2020. The Defendant shall serve, but not file, its

answering brief, not to exceed 30 pages, on March 4, 2020. The Plaintiff shall serve, but not file,

its reply brief, not to exceed 20 pages, on March 18, 2020. The Defendant shall serve, but not

file, its sur-reply brief, not to exceed 10 pages, on April 1, 2020. No later than April 8, 2020, the

parties shall file a Joint Claim Construction Brief. The parties shall copy and paste their unfiled

briefs into one brief, with their positions on each claim term in sequential order, in substantially

the form below.

                          JOINT CLAIM CONSTRUCTION BRIEF

I. Agreed-upon Constructions

II. Disputed Constructions

A. [TERM 1]

       1. Plaintiffs Opening Position

       2. Defendant's Answering Position

       3. Plaintiffs Reply Position

       4. Defendant's Sur-Reply Position

B. [TERM 2]

       1. Plaintiffs Opening Position

       2. Defendant's Answering Position




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       3. Plaintiffs Reply Position

       4. Defendant's Sur-Reply Position

Etc. The parties need not include any general summaries of the law relating to claim

construction. If there are any materials that would be submitted in an appendix, the parties shall

submit them in a Joint Appendix.

       9. Hearing on Claim Construction. Beginning at 9 a.m. on May 14, 2020, the Court will

hear argument on claim construction. Absent prior approval of the Court (which, if it is sought,

must be done so by joint letter submission no later than the date on which answering claim

construction briefs are due), the parties shall not present testimony at the argument, and the

argument shall not exceed a total of three hours.

       10. Disclosure of Expert Testimony.

               a. Expert Reports. For the party who has the initial burden of proof on the subject

       matter, the initial Federal Rule 26(a)(2) disclosure of expert testimony is due on or before

       November 6, 2020. The supplemental disclosure to contradict or rebut evidence on the

       same matter identified by another party is due on or before December 11 , 2020. Reply

       expert reports from the party with the initial burden of proof are due on or before January

       22, 2021. No other expert reports will be permitted without either the consent of all

       parties or leave of the Court. Along with the submissions of the expert reports, the parties

       shall advise of the dates and times of their experts' availability for deposition.

       Depositions of experts shall be completed on or before February 26, 2021.

               b. Objections to Expert Testimony. To the extent any objection to expert

       testimony is made pursuant to the principles announced in Daubert v. Merrell Dow

       Pharm. , Inc., 509 U.S. 579 (1993), as incorporated in Federal Rule of Evidence 702, it




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       shall be made by motion no later than the deadline for dispositive motions set forth

       herein, unless otherwise ordered by the Court.

        11. Case Dispositive Motions. All case dispositive motions, an opening brief, and

affidavits, if any, in support of the motion, including Daubert, shall be served and filed on or

before March 26, 2021. Oppositions to dispositive and Daubert motions shall be served and filed

on or before April 23 , 2021. Replies in support of dispositive and Daubert motions shall be

served and filed on or before May 14, 2021 . No case dispositive motion under Rule 56 may be

filed more than ten days before the above date without leave of the Court.

        12. Applications by Motion. Except as otherwise specified herein, any application to the

Court shall be by written motion. Any non-dispositive motion should contain the statement

required by Local Rule 7 .1.1.

        13. Pretrial Conference. On September 17, 2021, the Court will hold a Rule 16( e) final

pretrial conference in Court with counsel beginning at 9 a.m. The parties shall file a joint

proposed final pretrial order in compliance with Local Rule 16.3(c) no later than 5 p.m. on the

third business day before the date of the final pretrial conference. Unless otherwise ordered by

the Court, the parties shall comply with the timeframes set forth in Local Rule 16.3(d) for the

preparation of the proposed joint final pretrial order.

       14. Motions in Limine. Motions in limine shall not be separately filed. All in limine

requests and responses thereto shall be set forth in the proposed pretrial order. Each party shall

be limited to three in limine requests, unless otherwise permitted by the Court. The in limine

request and any response shall contain the authorities relied upon; each in limine request may be

supported by a maximum of three pages of argument and may be opposed by a maximum of

three pages of argument, and the party making the in limine request may add a maximum of one




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additional page in reply in support of its request. If more than one party is supporting or

opposing an in limine request, such support or opposition shall be combined in a single three

page submission (and, if the moving party, a single one page reply) . No separate briefing shall be

submitted on in limine requests, unless otherwise permitted by the Court.

        15 . Jury Instructions, Voir Dire and Special Verdict Forms. Where a case is to be tried to

a jury, pursuant to Local Rules 4 7 .1(a)(2) and 51.1 , the parties should file (i) proposed voir dire,

(ii) preliminary jury instructions, (iii) final jury instructions, and (iv) special verdict forms no

later than 5 p.m. on the third business day before the date of the final pretrial conference. The

parties shall submit simultaneously with filing each of the foregoing four documents in Word or

WordPerfect format to rga_civil@ded .uscourts.gov.

        16. Trial. This matter is scheduled for a 5 day jury trial beginning at 9:30 a.m. on

September 27, 2021 , with the subsequent trial days beginning at 9:30 a.m. until the case is

submitted to the jury for deliberations, the jury will be excused each day at 4:30 p.m. The trial

will be timed, as counsel will be allocated a total number of hours in which to present their

respective cases. If more than one defendant remains at the time of trial, the Court will discuss

the timing of subsequent trials for the remaining Defendants.

        17. ADR Process. This matter is referred to a magistrate judge to explore the possibility

of alternative dispute resolution.

       18. Stipulations by the Parties. The parties have stipulated and agree to the following :

       a. The Parties agree to work together to coordinate depositions such that to the extent

practical each individual witness is only deposed once. This coordination also extends to third-

party witnesses, such as inventors of the patents-in-suit.




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       b. The Parties agree that, when a Party issues a subpoena in this case, the issuing Party

shall request that subpoenaed parties simultaneously produce materials to all Parties, and if,

notwithstanding such request, the subpoenaed party does not produce the materials, the issuing

Party shall provide a copy of all materials to the other Parties within five business days of receipt

of the materials from the subpoenaed party.




IT IS SO ORDERED this       1,j,--- day of    l,i\dJtUt,   , 2019.




                                      Hon. Richard G. ndrews
                                      United States D strict Judge




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